     CASE 0:24-cv-04610-NEB-ECW        Doc. 36    Filed 05/13/25   Page 1 of 2




                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA

Consumer Financial Protection
Bureau,
                                          Case No. 0:24-cv-04610-NEB-ECW
       Plaintiff,

        v.

Walmart Inc. & Branch Messenger,
Inc.,

       Defendants.



                         Plaintiff’s Notice of Dismissal

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff

Consumer Financial Protection Bureau dismisses with prejudice this action against

Defendants Walmart Inc. and Branch Messenger, Inc.

      DATED: May 13, 2025

                                      Respectfully Submitted,


                                      Mark Paoletta
                                      Chief Legal Officer
CASE 0:24-cv-04610-NEB-ECW    Doc. 36   Filed 05/13/25     Page 2 of 2




                             Cara Petersen
                             Acting Enforcement Director

                             Deborah Morris
                             Deputy Enforcement Director

                             Rebeccah Bower
                             Assistant Litigation Deputy



                             /s/ Rebeccah G. Watson
                             REBECCAH G. WATSON
                             (DC Bar No. 989313)
                             Admitted Pro Hac Vice
                             (202) 435-7895
                             Rebeccah.Watson@cfpb.gov
                             NICOLE A. MAURI
                             (Cal. Bar No. 330692)
                             Admitted Pro Hac Vice
                             (202) 435-9799
                             Nicole.Mauri@cfpb.gov
                             SABITA KRISHNAN
                             (NY Bar No. 4418802)
                             Admitted Pro Hac Vice
                             (202) 718-2836
                             Sabita.Krishnan@cfpb.gov

                             Enforcement Attorneys
                             Consumer Financial Protection Bureau
                             1700 G Street NW
                             Washington, DC 20552
                             Facsimile: (202) 435-7722

                             For the Consumer Financial Protection
                             Bureau
